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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

    GREGORY BOYER, as administrator of the
    Estate of Christine Boyer, and on his own
    behalf,

                              Plaintiff,
          v.                                                     OPINION and ORDER

    ADVANCED CORRECTIONAL HEALTHCARE,                                 20-cv-1123-jdp
    INC., LISA PISNEY, AMBER FENNIGKOH, STAN
    HENDRICKSON, DANIELLE NELSON, SHASTA
    MOGA, and MONROE COUNTY, WISCONSIN,

                              Defendants.1


    GREGORY BOYER, as administrator of the
    Estate of Christine Boyer, and on his own
    behalf,

                              Plaintiff,
                                                                 OPINION and ORDER
          v.
                                                                      22-cv-723-jdp
    USA MEDICAL & PSYCHOLOGICAL STAFFING,
    NORMAN JOHNSON, TRAVIS SCHAMBER,
    WESLEY HARMSTON, and JILLIAN BRESNAHAN,

                              Defendants.


         Christine Boyer suffered a cardiac arrest and died about 24 hours after being booked

into the Monroe County jail. Christine reported multiple medical problems during her intake,

including a history of cancer, high blood pressure, and congestive heart failure. But jail staff

did not immediately ensure that Christine had access to her prescription medications, nor did



1
 Defendants Danielle Nelson and Shasta Moga have changed their last names since this lawsuit
began. Nelson was formerly known as “Danielle Warren” and Moga was formerly known as
“Shasta Parker.” The court has updated the caption and will refer to them by their current last
names, but much of the evidence in the record uses their former last names.
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they send her to the emergency room when she experienced high blood pressure, shortness of

breath, and chest pain the day after her arrest. Christine’s husband, plaintiff Gregory Boyer,

brought these two closely related lawsuits, asserting that Christine died because jail staff

ignored her medical needs and because Monroe County and its contracted healthcare provider

Advanced Correctional Healthcare had policies and practices of providing inadequate

healthcare to inmates.

       Defendants fall into three groups. The first group consists of the county defendants:

Monroe County and jail employees Stan Hendrickson, Danielle Nelson, and Shasta Moga. The

second group consists of the ACH defendants: Advanced Correctional Healthcare, which

contracted with Monroe County to provide healthcare services to jail detainees, and ACH

nurses Lisa Pisney and Amber Fennigkoh, who worked at the jail. The third group consists of

the USA Medical defendants: USA Medical & Psychological Staffing (ACH’s subsidiary and

subcontractor) and its shareholders Norman Johnson and Travis Schamber.2 Boyer seeks to

pierce the corporate veil and hold these defendants accountable for ACH’s misconduct.

       All three groups of defendants move for summary judgment. A reasonable jury could

find that Pisney acted objectively unreasonably when she failed to continue treating Christine’s

high blood pressure and failed to treat Christine’s chest pain as a medical emergency, so the

court will deny summary judgment on Boyer’s constitutional claims against Pisney based on

those actions. The court will grant summary judgment to defendants on the constitutional

claims against the other individual defendants and on Boyer’s municipal liability claims,

because Boyer has not adduced evidence that ACH, the county, or the jail were on notice that


2
 The two other USA Medical shareholders, Wesley Harmston and Jillian Bresnahan, have been
dismissed from the case on stipulation of the parties. Dkt. 228.


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any policy or practice would be likely to cause constitutional violations. On Boyer’s state-law

claims, the court will deny summary judgment on the medical malpractice claims against the

ACH defendants. The court will grant summary judgment on the remaining state-law claims

and also on the claims against the USA Medical defendants, because none of them were

personally involved in these events and Boyer has not shown that USA Medical is a corporate

alter ego of ACH to justify piercing the corporate veil. The county and USA Medical defendants

will be dismissed. This case will proceed to trial on the constitutional claims against Pisney and

on the medical malpractice claims against the ACH defendants.



                                    UNDISPUTED FACTS

       The following facts are undisputed except where noted.

       Christine Boyer was arrested and booked into the Monroe County jail on the evening

of December 21, 2019, which was a Saturday. Christine was intoxicated: a preliminary

breathalyzer test registered a 0.133 blood alcohol concentration. Christine told defendant

Danielle Nelson, who was working as the booking officer that night, that she had a lot of

medical problems and that some doctors said that she had only one year to live. Christine was

not able to list all of her medical problems, but she did report high blood pressure, asthma,

congestive heart failure, and a history of cancer. She said that she had taken her blood pressure

medication that day before her arrest.

       Defendant nurse Amber Fennigkoh was finishing her shift when Christine arrived at the

jail. Nelson told Fennigkoh about Christine’s medical history and Fennigkoh offered to

interview Christine before she left for the night. Fennigkoh recorded her observations from that




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interview in a progress note. Dkt. 240-4.3 She observed that Christine was tearful and that her

responses to questions were “all over the place.” When Fennigkoh asked Christine to clarify

her statement that she had only one year to live, Christine responded: “I have all my organs

shutting down, radiation [for cancer] back then did me in, I don’t have a hip, I pee myself and

shit myself every 20 minutes, I am peeing right now.” Fennigkoh observed Christine standing

normally with no visible urine stain. When asked about her medications, Christine said she

was taking oxycodone, blood pressure medication, and “other meds at Tomah medicine

shoppe.” Fennigkoh asked Christine if she could call her husband to bring her medications

because the jail could not call her pharmacy on the weekend. Christine said that her husband

“has no clue what I take” because “I hide [the medications] from him,” but she ultimately

agreed to call him. Christine also said that she had some medications in her purse; when

Fennigkoh checked the purse, she found a prescription bottle of oxycodone, a bottle of

odansetron (Zofran), an albuterol inhaler, loose aspirin, and one-half of an unknown pill

labelled “tiva.” Dkt. 240-5 (jail medication form). When she finished her interview, Fennigkoh

told jail staff to put Christine on a medical watch and to notify the on-call nurse practitioner

about Christine when they were able to do so. Staff put Christine in a cell in the jail’s booking

area and conducted wellness checks every thirty minutes throughout the night.

         The next day was a Sunday. Defendant Lisa Pisney, a nurse practitioner, was the on-call

provider. At approximately 7:00 a.m., officer Brooke Dempsey, who is not a defendant, called

Pisney about Christine. The parties dispute how much Dempsey told Pisney about Christine’s

medical conditions: Pisney says Dempsey told her only that Christine “had some sort of cancer,




3
    All docket references refer to the docket in case no. 20-1123-jdp.


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and that she was told she only had a month to live.” Dkt. 218 (Pisney Dep. 127:25–128:1;

22:16–18). Dempsey says that she also told Pisney that Christine had high blood pressure,

congestive heart failure, and asthma. In addition to speaking with Dempsey, Pisney reviewed

the medications that had been found in Christine’s purse and approved her taking the

ondansetron and the albuterol inhaler, but not the other medications. Pisney directed jail staff

to contact Christine’s doctor and pharmacy on Monday to obtain her medical records and

medication list.

       At approximately 3:00 p.m., Christine told defendant Shasta Moga and other jail staff

that she felt hot and sweaty and was having trouble breathing. At Christine’s request, staff

checked her blood pressure, which measured 177/100. One of the jail staff (the parties don’t

say who) called Pisney, who told them to give Christine 0.2mg of clonidine and to recheck

blood pressure at 3:45 p.m. On recheck, Christine’s blood pressure had decreased to 169/105.

Pisney told staff to wait an hour and to give Christine another 0.1mg of clonidine if the diastolic

reading was still over 100. Moga took Christine’s blood pressure again at 5:00 p.m; the reading

was 164/101, so Moga administered another 0.1mg of clonidine per Pisney’s instructions. Staff

did not check Christine’s blood pressure again after the second dose of clonidine.

       Fennigkoh did not normally work on Sundays, but she was at the jail on the afternoon

of December 22 on a special assignment related to a different inmate. Moga told her that

Christine’s blood pressure was elevated and that Christine had received doses of clonidine.

Fennigkoh told Moga that staff were handling the situation correctly and advised them to

continue communicating with Pisney. Fennigkoh also spoke with Gregory Boyer on the phone

before she left the jail. Fennigkoh told Boyer that he could bring Christine’s medications to the

jail and asked him if he could get a medication and diagnosis list from Christine’s medical


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providers. Before she left, Fennigkoh emailed jail staff, including Nelson and Moga, telling

them that they should call Pisney if Boyer brought Christine’s medications because Christine

“likely could benefit from them!” Dkt. 240-11.

       Around 7:30 p.m., Christine told Moga that she was experiencing chest pain, so Moga

initiated the jail’s chest pain protocol, which required jail staff to complete a form about the

inmate’s symptoms and to contact the on-call provider. Christine told Moga that the pain had

been there off and on all day but that it was now constant; she also reported nausea and

vomiting, shortness of breath, and dizziness. Moga took Christine’s vital signs, including her

blood pressure, which was 144/102. While completing the form, Moga observed that Christine

was sitting up, talking, responsive, and not doubled over in pain. Moga reported Christine’s

symptoms to Pisney, who instructed her to give Christine aspirin, to re-check her vital signs

again in thirty minutes, and to call back if they were abnormal. During that re-check, Moga

recorded a blood pressure of 142/92, normal oxygen level, and normal pulse. Christine did not

report any more chest pain at that time.

       At 10:00 p.m., Moga’s shift ended and she was replaced by Nelson for the night shift.

Moga told Nelson that Christine had had chest pain and that Pisney had been notified. Over

the next three hours, Nelson and another correctional officer checked on Christine more than

ten times; during the last check at 12:49 a.m., Nelson reported that Christine was alert and

quiet, sitting on the edge of the bed in her cell. Ten minutes later, a different staff member

noticed Boyer lying unresponsive on the floor of her cell. Nelson and other staff began CPR;

EMS arrived about 10 minutes later and transported Christine by helicopter to the hospital.

Christine died at the hospital four days later.




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       The parties agree that Christine died of an acute cardiac arrest, but the details of what

caused the cardiac arrest are disputed. Doctors at the hospital determined that Christine’s

cardiac arrest had been caused by a severe potassium deficiency. Christine had previously been

diagnosed with low potassium and had been prescribed a potassium supplement. Both parties

agree that Christine’s low potassium levels contributed to her cardiac arrest. But Boyer’s

medical experts assert that her preexisting congestive heart failure and her high blood pressure

throughout the day on December 22 were also contributing factors.

       The court will discuss additional facts as they become relevant to the analysis.



                                          ANALYSIS

       Boyer brings claims under 42 U.S.C. § 1983 and Wisconsin state law on behalf of

himself and Christine’s estate, contending that defendants provided Christine with inadequate

healthcare during her brief stay at the Monroe County jail. Boyer’s claims fall into four

categories. First, Boyer asserts individual-capacity constitutional claims against Nelson, Moga,

Fennigkoh, and Pisney based on their personal involvement in Christine’s healthcare during

her jail stay. Second, Boyer brings municipal liability claims against ACH, Monroe County,

and jail administrator Stan Hendrickson in his official capacity, contending that they had

policies and practices that caused the constitutionally inadequate healthcare Christine received.

Third, Boyer asserts state-law claims for medical malpractice, survival, wrongful death, and

intentional and negligent infliction of emotional distress against ACH and the county

defendants. Fourth, Boyer asserts claims against USA Medical and its shareholders, contending

that the circumstances of ACH and USA Medical’s corporate relationship justify piercing the

corporate veil and holding USA Medical and its shareholders liable for ACH’s conduct.


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A. Constitutional claims against the individual defendants

       Boyer’s § 1983 inadequate medical care claims against Pisney, Fennigkoh, Nelson, and

Moga arise under the Fourth Amendment because Christine had been arrested but had not yet

had a judicial probable cause hearing. Jump v. Vill. of Shorewood, 42 F.4th 782, 792–93 (7th Cir.

2022). Fourth Amendment inadequate medical care claims are analyzed under an objective

reasonableness standard. Id. at 793. To defeat summary judgment, Boyer must adduce evidence

that: (1) Christine had a serious medical need; (2) defendants made an intentional decision

regarding Christine’s medical care; (3) defendants’ actions were objectively unreasonable; and

(4) defendants’ actions harmed Christine. See Pulera v. Sarzant, 966 F.3d 540, 550 (7th Cir.

2020). Courts assess objective reasonableness in light of the totality of the circumstances

known to the defendants, without regard to the defendants’ actual intent or subjective beliefs.

Pittman by & through Hamilton v. Madison Cnty., Illinois, 108 F.4th 561, 572 (7th Cir. 2024).

Objective unreasonableness is a higher standard than mere negligence, but a lower standard

than subjective intent. Miranda v. Cnty. of Lake, 900 F.3d 335, 353 (7th Cir. 2018). The key

question is whether the defendant took “reasonable available measures” to address a “risk of

serious harm” to an inmate’s health or safety. Pittman, 108 F.4th at 572.

       The court begins with Pisney because as the jail’s on-call provider, she was the defendant

most responsible for making decisions about Christine’s medical care.

       1. Pisney

       Boyer faults nurse practitioner Pisney for failing to adequately screen Christine’s

medical needs and provide appropriate treatment. Boyer identifies four points during

Christine’s jail stay when Pisney provided inadequate care: (1) when she learned about

Christine’s complex medical history on the morning of December 22, but decided not to send


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Christine to the emergency room for a medical screening; (2) when she told jail staff that they

could wait until Monday to get Christine’s medical records and medication list from her

providers; (3) when she treated Christine’s high blood pressure with clonidine, but did not

continue monitoring her blood pressure even though it remained high; and (4) when she treated

Christine’s chest pain with aspirin instead of sending her for emergency care.

           a. Medical clearance

       Boyer contends that on the morning of December 22, Pisney acted unreasonably by

deciding to monitor Christine at the jail as opposed to taking her to the emergency room for

medical screening. Boyer points out that jail staff told Pisney that morning that Christine “had

some sort of cancer, and that she was told she only had a month to live.” Dkt. 218 (Pisney

Dep. 127:25–128:1; 22:16–18). And although Pisney denies it, jail staff assert that they also

told Pisney that Christine had asthma, high blood pressure, and congestive heart failure. (The

court accepts jail staff’s version of events for the purposes of summary judgment.) Boyer argues

that any reasonable medical provider in Pisney’s position would have recognized that an inmate

with a medical history as complex as Christine’s needed a medical screening before she could

be safely housed in the jail.

       The problem with Boyer’s argument is that he hasn’t identified any serious risk of harm

that would have been apparent to a provider in Pisney’s position that morning. Although

Christine had multiple serious medical conditions, there is no evidence that she was

experiencing a medical emergency the morning after her arrest. Christine was not hospitalized

prior to her arrest; she did not present with any concerning symptoms other than intoxication

on intake; and she did not complain of any new symptoms overnight or into the morning.

Nothing in the record suggests that a reasonable provider would have determined that Christine


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needed emergency care on the morning of December 22, so Pisney did not violate the

Constitution by not sending her to be screened at the emergency room.

       The opinion of Boyer’s emergency medical expert Homer Venters does not change the

court’s analysis. Venters asserted that Christine’s complex medical history meant that she

needed medical clearance to determine whether she could be safely cared for in the jail, which

would have required a trip to the emergency room because there was no provider on-site on

Sundays to conduct a medical clearance. Dkt. 246, at 14. But Venters’ opinion merely describes

his beliefs about what Pisney should have done to comply with medical best practices; it doesn’t

create a genuine dispute of fact pertinent to whether Pisney violated the Constitution. See

McCann v. Ogle Cnty., Illinois, 909 F.3d 881, 887 (7th Cir. 2018) (failure to comply with

standard of care was negligent, but not objectively unreasonable when the inmate did not

present with any signs that he was at risk of serious harm). The bottom line is that the

Constitution did not require Pisney to send Christine for emergency care when she was not

experiencing a medical emergency.

           b. Christine’s medical history and medications

       When Pisney spoke to jail staff about Christine on the morning of December 22, she

told them that they should call Christine’s medical provider and pharmacy on Monday to get

her medical records and full medication list. Boyer argues that it was unreasonable for Pisney

to decide that the medical records and medications could wait until Monday, because a

reasonable provider in Pisney’s position would know that a medically complex patient like

Christine might suffer complications without her medication.

       Boyer points to Petties v. Carter, in which the court of appeals held that an “inexplicable

delay in treatment which serves no penological interest” may violate the Constitution. 836


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F.3d 722 (7th Cir. 2016). But Petties isn’t instructive here because the delay in getting

Christine’s medications is easily explained. The parties agree that Christine’s health care

provider and pharmacy were not open on the weekend, so jail staff could not get her medical

records or verify her medications until Monday. Pisney is not liable under the Constitution for

a delay prompted by circumstances outside her control. See Pittman, 108 F.4th at 572

(Constitution requires jail staff to take “reasonable available measures” to abate risk of serious

harm). The record does not reflect any delay on Pisney’s part in acquiring Christine’s records

and medications. On the contrary, Pisney instructed staff to acquire the records and

medications as it was reasonably possible for them to do so.

       Boyer argues that the pharmacy being closed didn’t relieve Pisney of her obligation to

immediately acquire Christine’s medications. He asserts that if Pisney couldn’t get the

medications from the pharmacy, then she needed to send Christine to the emergency room.

Boyer would be correct if Christine had been showing symptoms of an emergency medical

condition. See Ortiz v. City of Chicago, 656 F.3d 523 (7th Cir. 2011) (denying a detainee

medications or emergency care for a day was unreasonable when the detainee repeatedly asked

for a doctor, became groggy, and eventually could not stand up or speak). But as discussed

above, there is no evidence that Christine was suffering from an emergency condition on the

morning of December 22. Boyer cites no authority holding that inmates who are not

experiencing emergent symptoms must be taken to the emergency room simply to avoid

missing a dose of their medication.

       Boyer also argues that Pisney could have gotten more details about Christine’s medical

history and medications from Christine herself. He points out that Christine was intoxicated

during her initial intake, so she might have remembered more about her medical conditions


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and medications in the morning when she had sobered up. It may indeed have been a best

practice for Pisney to attempt to get more information from Christine once she was sober. But

Boyer doesn’t explain why an additional attempt to get information from Christine would have

made a difference in this case. Defendants have adduced evidence that the standard practice

in many jails is to require medications to either be in original pharmacy packaging or to be

verified by a provider, because of the risk that an inmate might not accurately remember the

name or dosage of their own medication. Dkt. 230 (expert report of Susan Minter), at 12.

Boyer does not take issue with this requirement. So even if Christine had provided additional

information about what medications she took, nothing would have required the jail to

administer those medications to her before they could be verified with her providers on

Monday.

           c. High blood pressure treatment

       Boyer next contends that Pisney provided inadequate treatment for Christine’s

persistent high blood pressure on the afternoon of December 22. Pisney treated Christine with

clonidine and ordered jail staff to recheck her blood pressure twice, at 3:45 p.m. and at 5:00

p.m., but then did not order any further monitoring or treatment after that.

       It is undisputed that Pisney provided immediate care for Christine’s high blood pressure

by giving her clonidine, a medication which has the effect of lowering blood pressure and which

did in fact lower Christine’s blood pressure somewhat. None of Boyer’s medical experts say

that it was inappropriate for Pisney to give Christine clonidine. However, a problem arises after

5:00 p.m., when Christine’s blood pressure remained elevated and Pisney ordered jail staff to

give her one more dose of clonidine, but then did not order any further treatment or blood

pressure monitoring. Pisney testified in her deposition that the clonidine “looked like it was


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working,” so she “assumed that the next dose would drop [Christine’s blood pressure] even

further and get her into the normal zone.” Dkt. 218 (Pisney Dep. 144:3–145:12). But Pisney

provides no reason why she assumed that a second dose would be enough to resolve the

problem.

       Defendants assert that Pisney exercised reasonable professional judgment in deciding

not to monitor or treat Christine further, arguing that because Christine was asymptomatic at

5:00 p.m., there was no requirement that Pisney continue to monitor her blood pressure after

that. See Dkt. 30 (expert report of Susan Minter), at 10. But Boyer, citing internal medicine

expert Suzanne Bentley, says that this is an unreasonable position to take, given that Christine

had reported symptoms less than two hours earlier and had been given medication to reduce

her blood pressure, which would necessarily require follow-up to determine whether it had the

desired effect.4 Pisney is entitled to rely on her professional judgment, but her treatment

decisions are still subject to an objective reasonableness standard. See Holloway v. Delaware Cnty.

Sheriff, 700 F.3d 1063 (7th Cir. 2012). If a jury credited the opinions of Boyer’s medical

experts, it could find that no reasonable provider in Pisney’s position would have believed that

it was appropriate to stop monitoring Christine under the facts of this case, which is enough


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  Bentley submitted a rebuttal report responding to Minter’s assertion that Christine did not
need her blood pressure checked because she was asymptomatic. Dkt. 249. Defendants moved
to strike Bentley’s rebuttal report, as well as two other rebuttal reports submitted by plaintiffs’
other experts Homer Venters and Bruce Charash. Dkt. 292. Defendants contend that the
scheduling order didn’t allow for a third-round of rebuttal reports and that the reports were
not true rebuttal reports because they reiterated the experts’ original opinions. The court need
not address Venters’ and Charash’s rebuttal reports at this time, because none of the opinions
raised in those reports were relevant to the issues on summary judgment. The court will deny
the motion to strike Bentley’s rebuttal report. Although the scheduling order did not allow for
a third-round of rebuttal reports, plaintiffs properly sought leave to submit the report.
Dkt. 265. And the rebuttal report does not raise new issues that might prejudice the
defendants; it simply provides a clarifying response to an issue raised by defendants’ expert.


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for a reasonable jury to find that Pisney acted objectively unreasonably. The court will deny

summary judgment on Boyer’s § 1983 claim based on Pisney’s failure to continue monitoring

her blood pressure.

           d. Chest pain

       A reasonable jury could also find that Pisney acted unreasonably on the evening of

December 22, when Christine experienced chest pain and Pisney decided to give Christine an

aspirin, retake her vital signs in thirty minutes, but otherwise do nothing. Pisney explained that

she believed Christine’s chest pain was caused by anxiety as opposed to a more serious

condition and defendants assert that this was a reasonable exercise of Pisney’s professional

judgment, particularly because Christine’s vitals had improved thirty minutes later and she

didn’t report any more chest pain at that time. Defendants say that Boyer has not identified

any law holding that it is a constitutional requirement to treat all incidents of chest pain among

inmates as a medical emergency.

       The court agrees that there is no blanket constitutional mandate to take all inmates

with chest pain to the emergency room. But defendants’ argument ignores the specific facts of

Christine’s case. Viewing the facts in the light most favorable to Boyer, Pisney knew that

Christine had congestive heart failure, had told jail staff that she had less than a month to live,

had had persistent high blood pressure and shortness of breath throughout the afternoon, and

had reported to Moga that the chest pain had been “on and off” throughout the day. In light

of those facts, Boyer’s medical experts asserted that the standard of care required Pisney to

send Christine to the emergency room, at minimum so that she could get an EKG to rule out

an acute cardiac emergency. Dkt. 249 (Bentley report), at 13–17, Dkt. 246 (Venters report),

at 20–21. Pisney has provided no reason why she did not consider that Christine might be


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experiencing a more severe cardiac event in light of Christine’s history of heart problems and

her recurrent symptoms throughout the day on December 22. A reasonable jury could find that

Pisney acted unreasonably by failing to consider Christine’s medical history and symptoms in

determining the likely cause of her chest pain, so the court will deny summary judgment to

Pisney on Boyer’s § 1983 claim about Pisney’s treatment of Christine’s chest pain.

       2. Fennigkoh

       Boyer contends that nurse Fennigkoh acted unreasonably by not conducting a more

thorough intake of Christine on the evening of December 21 and by not getting more

information about what medications Christine was taking so that the jail could get them for

her. The court will grant summary judgment to defendants on these claims.

       As for Christine’s intake, Boyer argues that given Christine’s serious medical history,

Fennigkoh should have sent her to the emergency room for medical clearance, conducted a

physical examination, or informed Pisney about Christine’s case immediately. Boyer’s

argument about medical clearance fails for the same reason discussed above for Pisney: Boyer

has not adduced evidence that Christine was suffering from an emergency condition when she

arrived at the jail, so it was not objectively unreasonable for Fennigkoh not to send her to the

emergency room. As for whether Fennigkoh should have conducted a physical examination or

informed Pisney, Boyer does not explain why either of those things would have changed the

outcome in this case. Boyer does not assert that Fennigkoh would have discovered an

emergency condition if she had conducted a physical examination. Nor does Boyer say that

anything different would have occurred if Pisney had been alerted about Christine at the time

of her intake as opposed to early the next morning.




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       As for whether Fennigkoh should have gotten more information about what

medications Christine was taking, it is undisputed that Fennigkoh asked Christine about her

medications, looked in her purse, and asked her to call her husband to get her medications. No

reasonable jury could find that Fennigkoh failed to take sufficient measures to find out what

medications Christine was taking.

       3. Nelson and Moga

       Boyer contends that Nelson and Moga violated Christine’s constitutional rights by not

taking her to the emergency room when she needed it and in Nelson’s case, by failing to get a

complete medical history during Christine’s intake.

       The court concludes that Nelson and Moga are entitled to summary judgment on

Boyer’s medical care claims because they reasonably relied on Fennigkoh and Pisney’s medical

judgment about Christine’s treatment. Non-medical staff are presumptively entitled to rely on

the judgment of medical personnel about how to treat inmate medical issues. McGee v. Parsano,

55 F.4th 563, 572–73 (7th Cir. 2022); Eagan v. Dempsey, 987 F.3d 667, 694 (7th Cir. 2021).

A plaintiff may rebut the presumption only by showing that the non-medical staff had reason

to know that the medical staff’s treatment was inadequate. McGee, 55 F.4th at 569 (quoting

Miranda v. Cnty. of Lake, 900 F.3d 335, 343 (7th Cir. 2018)).

       Boyer argues that Nelson and Moga are liable because they ignored Christine when she

reported medical problems. But on the undisputed facts, no reasonable jury could find that

Nelson and Moga ignored Christine’s medical complaints. Nelson immediately alerted

Fennigkoh when she was booked into the jail, allowing Fennigkoh to conduct her own medical

intake of Christine before Fennigkoh left for the night. Nelson then followed Fennigkoh’s

instructions to put Christine on medical watch. Nelson was not present the next day, but when


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she arrived at the jail for night shift, Moga told her that Christine had experienced chest pain

and that Pisney had been notified. Nelson then monitored Christine at least ten times between

10:00 p.m. and 1:00 a.m., noticing nothing unusual until Christine’s cardiac arrest, which she

responded to promptly.

       As for Moga, she contacted Pisney multiple times on December 22 about Christine’s

medical situation and followed Pisney’s instructions each time. When Christine reported

feeling hot and sweaty and having trouble breathing, Moga checked her blood pressure, called

Pisney, and then administered clonidine as Pisney instructed. Later, when Christine reported

chest pain, Moga followed the jail’s chest pain protocol by recording Christine’s symptoms,

calling Pisney, and then following Pisney’s instructions to give Christine aspirin and to

reevaluate her symptoms. On reevaluation, Christine’s blood pressure had decreased and

Christine didn’t report further chest pain, but Moga continued to monitor her and informed

Nelson about the chest pain and Pisney’s instructions before leaving for the night. Boyer has

not identified a single instance where Christine complained about a medical issue and either

Nelson or Moga ignored it.

       Boyer argues that it would have been obvious to any reasonable officer in Nelson and

Moga’s position that Christine needed to be taken to the emergency room when she

experienced chest pain, because Nelson and Moga knew Christine had a history of heart

problems, had not received her medications on Sunday, and had experienced elevated blood

pressure for much of the day. But Nelson and Moga knew Pisney was also aware of those facts

and that Pisney had not instructed them to take Christine to the emergency room. Boyer points

to no precedent holding that jail staff must take inmates with heart problems to the emergency

room if they experience chest pain, even if medical staff do not advise them to do so. No


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reasonable jury could find that Nelson and Moga should have known that the care Pisney was

providing to Christine was inadequate, so Nelson and Moga did not violate the Constitution

by relying on Pisney’s medical judgment.

       Nelson is also entitled to summary judgment on Boyer’s claim that she violated

Christine’s rights by failing to get a complete medical history. Fennigkoh helped Nelson take

Christine’s medical history and did not tell Nelson that any more information was needed.

Nelson was presumptively entitled to rely on Fennigkoh’s judgment that the medical history

was sufficient.

       4. Failure-to-intervene claims

       Boyer also brings failure to intervene claims against Pisney, Fennigkoh, Nelson, and

Moga, asserting that they knew about the constitutional violations committed by the other

defendants and did nothing to prevent them. The only constitutional claims surviving summary

judgment are for Pisney’s failure to effectively treat Christine’s high blood pressure and failure

to get Christine emergency medical care when she experienced chest pain, so any

failure-to-intervene claims would have to be based on those actions. Harper v. Albert, 400 F.3d

1052, 1064 (7th Cir. 2005) (“In order for there to be a failure to intervene, it logically follows

that there must exist an underlying constitutional violation.”).

       The court has already concluded that Nelson and Moga did not violate the Constitution

in deferring to Pisney’s medical decisions, so they are also entitled to summary judgment on

the failure-to-intervene claims. As for Fennigkoh, she was not present at the jail when Christine

began to experience chest pain, so she could not have intervened in that incident. See Abdullahi

v. City of Madison, 423 F.3d 763, 774 (7th Cir. 2005) (officer must be aware of a constitutional

violation to intervene). Fennigkoh did know that Christine had experienced high blood


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pressure on Sunday afternoon and that Pisney had prescribed clonidine, because Moga told

her so when Fennigkoh came to the jail on Sunday for a special assignment related to another

inmate. Dkt. 301, ¶ 83–84. But Boyer has not adduced evidence that Fennigkoh knew

Christine’s blood pressure was still elevated after the clonidine, which Fennigkoh would have

needed to know to determine that Pisney had provided inadequate care. No reasonable jury

could find that Fennigkoh was aware of any constitutional violations, so she is entitled to

summary judgment on Boyer’s failure-to-intervene claims.

       5. Punitive damages

       Punitive damages are available in § 1983 cases upon showing of “evil motive or intent,

or . . . reckless or callous indifference to the federally protected rights of others.” Smith v. Wade,

461 U.S. 30, 56 (1983). Defendants contend that Boyer cannot meet this standard for any of

his claims.

       The issue of punitive damages is moot for the claims that the court is dismissing. That

leaves the claims that Pisney failed to continue monitoring Christine’s blood pressure and failed

to send Christine to the hospital when she reported chest pain. The court concludes that a

reasonable jury could find that Pisney acted with callous indifference to Christine’s rights. The

key question is whether Pisney knew that Christine had preexisting congestive heart failure.

Pisney says she never knew that, but jail staff testified that they gave Pisney all the information

Christine had given them during her intake, including that she had congestive heart failure. If

a jury found that Pisney knew Christine had a preexisting cardiac condition, it could find that

Pisney acted recklessly or with callous indifference when she dismissed Christine’s cardiac

symptoms as anxiety as opposed to an emergency condition. The court will deny summary

judgment on the issue of punitive damages for the two remaining claims against Pisney.


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B. Municipal liability claims

       Boyer seeks to hold ACH and Monroe County liable for Christine’s death under the

framework established in Monell v. New York City Department of Social Services for constitutional

violations by municipalities. 436 U.S. 658 (1978). See also Glisson v. Indiana Dep’t of Corrections,

849 F.3d 372, 378–79 (7th Cir. 2017) (private corporations providing essential government

services can be subject to corporate liability under Monell framework). To defeat summary

judgment on his Monell claims, Boyer must adduce evidence of: (1) action or inaction by

defendants that can be fairly described as defendants’ custom or policy; (2) notice to

defendants that their conduct would lead to a constitutional violation; and (3) a direct causal

connection between the defendants’ policy and the constitutional injury. Calderone v. City of

Chicago, 979 F.3d 1156, 1163 (7th Cir. 2020). The notice element is typically established by

“a prior pattern of similar constitutional violations.” Bohanon v. City of Indianapolis, 46 F.4th

669, 677 (7th Cir. 2022). In rare instances, notice can be inferred without a prior pattern if

the policy or practice presents a “highly predictable” or “blatantly obvious” risk of

constitutional violations. J.K.J. v. Polk Cnty., 960 F.3d 367, 380–81 (7th Cir. 2020) (lack of

sexual assault prevention measures); Woodward v. Corr. Med. Servs. of Illinois, Inc., 368 F.3d 917

(7th Cir. 2004) (failure to follow suicide prevention protocols); Glisson v. Indiana Dep’t of Corr.,

849 F.3d 372 (7th Cir. 2017) (failure to provide coordinated care to inmates with severe

chronic illness).

       In his response brief, Boyer identifies three policies that form the basis for his Monell

claims against ACH, Monroe County, and the jail. (Boyer focuses primarily on ACH, but he

contends that the county and the jail adopted these policies when they contracted with ACH

to provide healthcare at the jail.) First, Boyer says that ACH’s intake procedure prevented jail


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medical providers from getting a full picture of inmates’ medical conditions. Second, he says

that ACH trained its providers to distrust inmates when they report symptoms of illness. Third,

he says that ACH’s chest pain protocol “effectively prohibited” jail staff from transporting

inmates to the emergency room unless they were unresponsive.

       1. Intake procedures

       Boyer contends that there were systemic deficiencies in ACH’s intake procedures, which

caused providers to miss emergency medical conditions. Specifically, Boyer says that ACH’s

intake screening form did not capture key information about inmate health, that ACH did not

require providers to repeat intake questions at a later point if an inmate was intoxicated during

intake, and that ACH instructed jail staff to verbally share medical information obtained during

intake with the provider as opposed to sending the provider the written intake form. Boyer

says that because of these screening policies, Pisney didn’t know what medications Christine

took or that Christine had congestive heart failure, which Pisney said might have led her to

make a different decision about sending Christine to the emergency room.

       The issues Boyer identifies with ACH’s screening form cannot form the basis for a

Monell claim because they are unrelated to the harm Christine suffered in the jail. Boyer’s

emergency medicine expert, Venters, said that ACH failed to take Christine’s vital signs at

intake and did not screen her for drug withdrawal symptoms or pregnancy. Dkt. 246, at 4–6.

But Boyer does not say that screening for any of these things would have made a difference. It

is undisputed that Christine was not pregnant or experiencing drug withdrawal. And although

Christine did have an abnormal vital sign (blood pressure) later in the day, no reasonable jury

could find that the failure to take her vital signs at intake caused her death. Christine told staff

at intake that she had taken her blood pressure medication before her arrest, and there is no


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evidence that she was experiencing any symptoms suggesting her blood pressure was high at

that time.

       As for the other problems with ACH’s intake procedure, Boyer fails to adduce evidence

to show that the problems at ACH-serviced facilities provided notice of a likely constitutional

violation. Boyer introduces evidence of ten other inmates who suffered adverse medical

outcomes at ACH-serviced facilities nationwide, arguing that these cases demonstrated “similar

concerns in patient care” to Christine’s case. Dkt. 246 (Venters expert report), at 26–28. But

Boyer has adduced no evidence from which a reasonable jury could find that these incidents

were caused by the same deficiencies in intake procedures that occurred in Christine’s case. In

fact, Boyer’s expert Venters conceded as much in his expert report, noting that the patient files

he reviewed “lacked medical records sufficient to make any determination about adequacy of

the areas of deficiency I observed in Ms. Boyer’s case.” Id. at 28.

       In his response brief, Boyer characterizes the “pattern of similar cases” requirement

more generally, arguing that he can survive summary judgment by providing evidence of a

“small number of other incidents where patients received constitutionally inadequate medical

care.” Dkt. 276, at 33 (citing Awalt v. Marketti, 74 F. Supp. 3d 909 (N.D. Ill. 2014) and Piercy

v. Warkins, No. 14-cv-7398, 2017 WL 1477959 (N.D. Ill. Apr. 25, 2017)). But Boyer’s

argument misses the key point, which is whether a reasonable jury could infer from Boyer’s

evidence that ACH was on notice that its policies or practices were likely to cause constitutional

violations. Bohanon, 46 F.4th at 677. In Awalt and Piercy, the plaintiffs adduced evidence that

a significant proportion of inmates at the same jail where the plaintiff was incarcerated had

received inadequate health care. See 74 F. Supp. 3d at 938 (seven out of 24 detainees booked

into the jail in the three months before Awalt’s booking); 2017 WL 1477959, at *12–*13


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(thirteen inmates, all but two in 2013). Not all the inmates in those cases experienced the same

problems, but the court concluded that a jury could nevertheless infer notice due to the

proportion of inmates who had received inadequate care. But Boyer’s expert identified only

one other inmate at the Monroe County jail who received inadequate care and nine others at

ACH-serviced facilities nationwide. A small number of inmates may be sufficient to provide

notice when the denominator is small, but ACH serves thousands of inmates per year; ten

incidents out of thousands doesn’t allow for a reasonable inference that ACH was on notice

       Boyer also contends that even without a pattern of similar violations, this is one of those

rare cases where it is blatantly obvious that deficient intake procedures would lead to

constitutional violations. Boyer points to Woodward v. Correctional Medical Services of Illinois, 368

F.3d 917, which held that ignoring suicide prevention policies created a blatantly obvious risk,

and Glisson v. Indiana Department of Corrections, 849 F.3d 372, which held that not adopting any

policies for coordinated chronic disease care created a blatantly obvious risk. 849 F.3d 372.

But the policy deficiencies in Woodward and Glisson were much more serious than in this case.

In both of those cases, officials failed to institute any protective measures to guard against

events that would be practically certain to occur in the corrections setting. As a result, the

plaintiff in Woodward received no suicide prevention care for weeks despite repeatedly

expressing a desire to kill himself, and the plaintiff in Glisson slowly deteriorated in health over

the course of more than a month because no provider at the prison had a complete picture of

his medical condition. Woodward, 368 F.3d at 925–26. Glisson, 849 F.3d at 376–78. Boyer’s

criticisms of ACH’s intake procedures are much more subtle. ACH may not have followed best

practices for screening and communicating medical intake information to the jail’s provider.

But its screening practices were not so obviously deficient that the risk of constitutional


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violations was “highly predictable” even without a pattern of prior incidents. J.K.J, 960 F.3d at

380–81.

       2. Provider training

       Boyer contends that ACH trained its providers to distrust inmates when they

complained of medical problems. Boyer points to a training presentation from ACH’s founder

Norman Johnson, which was designed for correctional officers at ACH-serviced facilities and

which Pisney admits she saw during her training as an ACH medical provider. In the training,

Johnson teaches that many inmates exaggerate medical symptoms and seek medical attention

for “instant gratification” as opposed to health. Dkt. 278-19, at 5. He also tells providers that

many inmates experience a “perception of illness that may not be entirely accurate” because of

drug withdrawal or other consequences of being in jail. Id. Boyer argues that the training

infected Pisney’s thinking when she responded to Christine’s reports of high blood pressure

and chest pain, leading Pisney to ignore more serious possible diagnoses and conclude that

Christine was suffering from anxiety from being in jail.

       Boyer has not adduced evidence that ACH officials were aware or should have been

aware that the training video would cause constitutional violations. As with his case on ACH’s

screening policies, he does not identify a pattern of constitutional violations that can be fairly

traced to the training. And no reasonable jury could find that constitutional violations were a

“highly predictable consequence” of the training. The training does not tell providers to ignore

their professional judgment or to withhold or provide a certain type of care to inmates. In fact,

the training is not even intended for healthcare providers; it’s designed for non-medical jail

staff who work at ACH-serviced facilities. And although Johnson includes in the training a

number of broad generalizations about why inmates seek healthcare, his ultimate lesson in the


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training is that to avoid liability, non-medical staff should always refer medical issues to the

jail’s medical team. See Dkt. 278-19, at 14 (“If you don’t want to get sued for preventing

somebody from getting adequate care, call the medical team all the time. Get it off your desk.

Do not deny care.”). No reasonable jury could find that constitutional violations were a highly

predictable consequence of a training that explicitly directed jail staff to respond to medical

issues by referring them to the jail’s medical providers.

       3. Chest pain protocol

       Boyer asserts that ACH’s chest pain protocol “effectively prohibited” jail staff from

calling emergency services unless an inmate was unresponsive. But this is a mischaracterization

of the protocol. The chest pain protocol form, which was available in the jail for non-medical

staff to use, told staff to “start CPR immediately if detainee has no pulse or no respiration,” to

“call 911 if detainee is unresponsive,” and, most importantly, to “call the practitioner for all

chest pain.” Dkt. 240-14. Nothing in the chest pain protocol prohibited calls to emergency

services for inmates who were responsive; the protocol simply told jail staff to call the medical

practitioner for those inmates, who could then decide the most appropriate course of treatment.

No reasonable jury could find that ACH knew or should have known that a protocol urging jail

staff to call the on-call medical provider about chest pain would cause constitutional violations.

       Boyer has not adduced evidence that defendants were on notice of any policy or practice

likely to cause constitutional violations, so defendants are entitled to summary judgment on

Boyer’s municipal liability claims.

C. State-law claims

       Boyer brings claims against the ACH defendants for medical malpractice, survival,

wrongful death, intentional infliction of emotional distress, and negligent infliction of


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emotional distress. The medical malpractice, survival, and wrongful death claims are all based

on the allegedly negligent medical treatment that defendants provided to Christine. The ACH

defendants don’t address the issue whether defendants provided Christine with negligent

medical care in its briefs, so defendants have forfeited any contention that they are entitled to

summary judgment on these claims. See Doherty v. City of Chicago, 75 F.3d 318, 324 (7th

Cir.1996).

          As for the emotional distress claims, defendants contend that these claims brought by

Boyer in his individual-capacity are barred by Phelps v. Physicians Ins. Co. of Wisconsin, in which

the Wisconsin Supreme Court held that Wisconsin law does not recognize a negligent infliction

of emotional distress claim brought by a bystander to medical negligence. 2009 WI 74, 319

Wis. 2d 1, 768 N.W.2d 615. In response, Boyer asserts that his emotional distress claims are

not based on his witnessing medical negligence perpetrated against Christine; rather, these

claims are based on the defendants’ treatment of Boyer himself; namely, that they ignored him

when he told them that Christine needed her medications. But Boyer says in his brief that the

source of his distress was not his personal communications with the defendants, but his

knowledge that the jail had delayed administering Christine’s medications, failed to adequately

respond to her cardiac distress, and refused to transport her for emergency care. There is no

meaningful difference between that and a bystander claim, which is barred in Wisconsin under

Phelps.

          Defendants also contend that the emotional distress claims brought by Christine’s

estate should be dismissed because Boyer has not adduced any evidence that Christine suffered

severe emotional distress at any point before her cardiac arrest on December 22. The court

agrees. Severe emotional distress must be of “such substantial quantity or enduring quality that


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no reasonable person could be expected to endure it.” Hicks v. Nunnery, 2002 WI App 87, ¶ 26,

253 Wis.2d 721, 643 N.W.2d 809. Boyer says in his response brief that Christine reported

“terrifying” symptoms and was “acutely aware that she was dying.” Dkt. 276, at 55. But he

doesn’t point to any facts from which a reasonable jury could infer that Christine was

experiencing severe emotional distress. On the contrary, Boyer admits that jail staff did not

observe Christine to be in any distress in the hours before her cardiac arrest and that, when jail

staff checked on her about ten minutes before the cardiac arrest, she was alert, quiet, and

preparing to lie down on her cot. Dkt. 301, ¶¶ 109–10. The court will grant summary judgment

to defendants on the claims for intentional and negligent infliction of emotional distress

brought by both Christine’s estate and Boyer.

       Boyer also asserts a state-law indemnification claim against Monroe County. But the

court has determined that the Monroe County employees Nelson and Moga are entitled to

summary judgment, so the indemnification claim will be dismissed as well.

D. Claims against the USA Medical defendants

       In case number 22-cv-723-jdp, Boyer asserts claims against USA Medical and its

shareholders Norman Johnson and Travis Schamber. Boyer seeks to pierce the corporate veil

and hold USA Medical, Johnson, and Schamber liable for ACH’s misconduct in this case. Boyer

also brings § 1983 and state-law malpractice claims against Johnson and Schamber in their

individual capacities.

       The court will grant summary judgment to Johnson and Schamber on the § 1983 and

state-law malpractice claims. Boyer’s arguments that Johnson and Schamber were personally

involved in Christine’s death are based on his assertion that Johnson and Schamber trained

ACH’s medical providers, including Fennigkoh and Pisney, and developed policies that


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governed the healthcare they provided. The court has already held that ACH’s policies and

procedures are not unconstitutional as applied to this case. And neither Johnson nor Schamber

participated in Christine’s care at the jail, so they cannot be liable for malpractice. Ande v. Rock,

2002 WI App 136, ¶ 10, 256 Wis. 2d 365, 647 N.W.2d 265 (malpractice claim requires

showing of physician-patient relationship).

       As for the issue whether to pierce the corporate veil, there is a threshold choice-of-law

issue. Veil-piercing claims are typically governed by the law of the state of the corporation

whose veil is sought to be pierced. Henry Techs. Holdings, LLC v. Giordano, No. 14-cv-63-jdp,

2014 WL 3845870 (W.D. Wis. Aug. 5, 2014). Applying this rule, defendants argue in their

brief that Wisconsin law should apply to any claims to pierce USA Medical’s corporate veil

and Illinois law should apply to any claims to pierce ACH’s corporate veil, because USA

Medical is a Wisconsin corporation and ACH is an Illinois corporation. In response, Boyer

applies Wisconsin law without addressing the choice-of-law issue. Boyer also doesn’t clarify in

his response brief exactly which company’s corporate veil he wants to pierce; he simply argues

that USA Medical, ACH, Johnson, and Schamber should all be treated as functionally the same

entity. Ultimately, the court need not address the choice-of-law issue because Illinois and

Wisconsin have similar laws regarding veil piercing. Compare Consumer’s Co-op. of Walworth Cnty.

v. Olsen, 142 Wis. 2d 465, 484, 419 N.W.2d 211 (1988) with Ted Harrison Oil Co., Inc. v.

Dokka, 617 N.E.2d 898, 901–02 (Ill. App. 4th Dist. 1993). The court’s analysis will apply

Wisconsin law, but the result would be the same under Illinois law.

       Under Wisconsin law, “[p]iercing the corporate veil is not favored and in general, courts

are reluctant to do so.” Judson Atkinson Candies, Inc. v. Latini–Hohberger Dhimantec, 529 F.3d 371,

379 (7th Cir. 2008). But “where applying the corporate fiction would accomplish some


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fraudulent purpose, operate as a constructive fraud, or defeat some strong equitable claim, the

fiction is disregarded.” Milwaukee Toy Co. v. Indus. Comm’n, 203 Wis. 493, 234 N.W. 748

(1931). The key question in determining whether to pierce the corporate veil is whether the

corporation has a separate existence of its own as opposed to being a mere instrumentality for

a shareholder or parent corporation to evade obligations or otherwise commit wrongdoing.

Olsen, 419 N.W.2d at 484. Factors relevant to whether a corporation has its own separate

existence include whether the corporation is sufficiently capitalized, whether the corporation

is completely controlled by certain shareholders or a parent corporation, whether corporate

formalities are observed, and whether assets are commingled. Id.

       Boyer contends that ACH’s corporate form should be disregarded because ACH is

undercapitalized and disregards corporate formalities. As for undercapitalization, Boyer says

that ACH’s insurance coverage for civil rights lawsuits is limited to $1 million per claim, and

that ACH does not maintain sufficient capital to cover the difference if a plaintiff obtains a

judgment higher than that. Dkt. 276, at 47. Boyer points to deposition testimony in which

Johnson said that he didn’t know whether ACH had sufficient funds to pay an $8.5 million

judgment, but he thought it “probably” did. Dkt. 226 (Johnson Dep. 258:19–25). As for

corporate formalities, Boyer points out that Johnson and his wife serve as the president, vice

president, secretary, and treasurer of ACH, that Johnson and Schamber are the owners and

directors of both ACH and USA Medical, and that ACH has not held an in-person board

meeting in many years.

       Boyer’s evidence falls far short of establishing that ACH has no independent existence

as a corporate form. Johnson’s testimony that he didn’t know whether ACH could pay an $8.5

million judgment, but that it “probably” could is exceptionally weak evidence that ACH is


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undercapitalized; and in any event, undercapitalization alone isn’t enough to justify piercing

the corporate veil. Olsen, 142 Wis. 2d at 483. And Boyer has not shown “egregious” disregard

of corporate formalities or “pervasive” control by the shareholders. Id. at 488. Boyer does not

say that ACH ever commingled assets with its shareholders or affiliate entities. And although

ACH did not hold in-person board meetings, it is undisputed that ACH completed annual

consent documents signed by all shareholders in lieu of annual meetings. Dkts. 238-8–238-10.

All the issues Boyer identifies with ACH’s corporate structure are relatively common features

of closely held corporations; none is sufficient to justify piercing the corporate veil.

       The USA Medical defendants assert that they are only moving for partial summary

judgment on Boyer’s individual-capacity claims against Johnson and Schamber and on his

claims for piercing the corporate veil. But the resolution of these issues appears to resolve all

claims against the USA Medical defendants. The court will ask the parties to show cause why

the court should not grant summary judgment in full to the USA Medical defendants and

dismiss them from the case.



                                         CONCLUSION

       This case is proceeding to trial against nurse Pisney on § 1983 claims based on her

treatment of Christine’s blood pressure and her decision not to send Christine to the emergency

room when she experienced chest pain, and against Pisney, Fennigkoh, and ACH on medical

malpractice claims related to their treatment of Christine in the jail. Summary judgment is

granted to defendants on Boyer’s other claims. The Monroe County defendants are dismissed

from the case, and the parties are ordered to show cause why the USA Medical defendants

should not be dismissed from the case as well.


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                                        ORDER

  IT IS ORDERED that:

  1. Defendants’ Advanced Correctional Healthcare, Lisa Pisney, and Amber
     Fennigkoh’s motion for summary judgment, Dkt. 250, is GRANTED in part and
     DENIED in part, as follows:

             a. The motion is DENIED for Boyer’s § 1983 claims against Pisney based
                on her treatment of Christine’s blood pressure and her decision not to
                send Christine to the emergency room when she experienced chest pain.
                The motion is also denied for Boyer’s medical malpractice, survival, and
                wrongful death claims against Pisney, Fennigkoh, and ACH.

             b. The motion is GRANTED for Boyer’s § 1983 claims against Fennigkoh
                and Advanced Correctional Healthcare, and for Boyer’s § 1983 claims
                against Pisney based on her decision not to send Christine for medical
                clearance and to wait until Monday to get Christine’s medications. The
                motion is also granted for Boyer’s state-law intentional and negligent
                infliction of emotional distress claims.

  2. Defendants’ Monroe County, Stan Hendrickson, Danielle Warren, and Shasta
     Moga’s motion for summary judgment, Dkt. 239, is GRANTED.

  3. Defendants’ USA Medical, Norman Johnson, and Travis Schamber’s motion for
     partial summary judgment on the individual claims against Johnson and Schamber
     and on the claims for piercing the corporate veil, Dkt. 234, is GRANTED. The court
     will give Boyer and the USA Medical defendants until July 14, 2025, to show cause
     why the court should not grant summary judgment in full to the USA Medical
     defendants and dismiss them from the case.

  4. Defendants’ motion to strike plaintiff’s rebuttal expert reports, Dkt. 292, is
     DENIED as moot with regard to the reports of Homer Venters and Bruce Charash.
     If these reports are relevant to the issues at the trial, the parties may raise any issues
     with the reports in motions in limine. The motion to strike is DENIED for the
     rebuttal report of Suzanne Bentley. The motion to grant Dkt. 292, Dkt. 296, is
     DENIED as moot.

  Entered July 7, 2025.

                                        BY THE COURT:

                                        /s/
                                        ________________________________________
                                        JAMES D. PETERSON
                                        District Judge


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